                         Case 1:25-cr-10295-IT
2-6   5HYLVHG86'&0$       Document 1-1             Filed 07/11/25            Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense: Dracut                 Category No.       II                    Investigating Agency                FBI

City    Dracut                                 5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                     &DVH1R
County       Middlesex
                                                6DPH'HIHQGDQW                     1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU
                                                6HDUFK:DUUDQW&DVH1XPEHU see list below (MPK)
                                                55IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                 <HV       ✔ 1R
'HIHQGDQW1DPH       Jessica Leslie                                                                        -XYHQLOH          G <HV        ✔ 1R
                                      ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                  G <HV        ✔ 1R
$OLDV1DPH
$GGUHVV             Dracut, MA

                      1991
%LUWKGDWH <URQO\ BBBBBB                9575
                               661 ODVW BBBBB         F
                                                       6H[BBBBBB               W
                                                                           5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:         Keith Halpern                                  $GGUHVV

%DU1XPEHU        545282

U.S. Attorney Information

$86$       Anne Paruti                                               %DU1XPEHULIDSSOLFDEOH 670356

Interpreter:              <HV     ✔ 1R                             /LVWODQJXDJHDQGRUGLDOHFW

Victims:            <HV     ✔ 1R        ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV         1R

Matter to be SEALED:                  <HV       ✔ 1R
    :DUUDQW5HTXHVWHG             ✔ 5HJXODU3URFHVV                  ,Q&XVWRG\

/Rcation Status:

$rrest Date           n/a

    $OUHDG\LQ)HGHUDO&XVWRG\DVRI                                                    LQ                                            
    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH     2UGHUHGE\                                               RQ

Charging Document:                     &RPSODLQW               ✔ ,QIRUPDWLRQ
                                                               G                                          ,QGLFWPHQW

Total # of Counts:                  G 3HWW\                    G 0LVGHPHDQRU                           ✔ )HORQ\ 1

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 7/11/2025                             6LJQDWXUHRI$86$
                        Case 1:25-cr-10295-IT                    Document 1-1           Filed 07/11/25   Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Jessica M. Leslie
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged                  Count Numbers

6HW
          18 U.S.C. 401(3)                             Criminal contempt                                       1
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21

 SW numbers (all MPK):
 24-mj-6137
 24-mj-6206, 6207, 6208, 6209




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
